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 6
                             UNITED STATES DISTRICT COURT
 7
                           CENTRAL DISTRICT OF CALIFORNIA
 8

 9

10    GEORGE JONES, an individual,                  Case No. 2:21-CV-10012-SSS-RAOx
11
                     Plaintiff,
12                                                  JUDGMENT
13        v.                                        (RE: RENEWED APPLICATION
                                                    FOR DEFAULT JUDGMENT)
14
      WAEL DIAB; and DOES 1-10,
15
                     Defendants.
16

17

18
               Upon review of the court files, the renewed application for default judgment,
19

20    the declarations submitted in support of the default judgment, and the evidence
21
      presented having been fully considered, it is hereby ordered and adjudged that
22
      Plaintiff, George Jones’s renewed application for default judgment on his Title III
23

24    claim is GRANTED, and his request for injunctive relief is GRANTED.
25
      Defendant, Wael Diab, is ORDERED to remove the following barriers at Casino
26

27    Liquor Store (the “Barriers”) within one-hundred and eighty (180) days of the entry
28
      of this Judgment: the cross slope and running slope of the access aisle, which


                                              JUDGMENT
                                                  1
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 1    violate section 4.6.3 of the 1991 ADAAG; and the changes in level from the
 2
      accessible parking space to the business entrance, which violate Section 4.5.2 of
 3

 4    the 1991 ADAAG.
 5
            Within one-hundred and eighty (180) days of the entry of this Judgment
 6

 7
      Defendant, Wael Diab, shall provide evidence of compliance with this Judgment

 8    in writing to Plaintiff’s counsel at the following address:
 9
            The Law Office of Hakimi & Shahriari
10
            15760 Ventura Blvd., Suite 650
11          Encino, California 91436
12
            Per California Code of Civil Procedure Section 682.040, Plaintiff shall be
13

14
      entitled to all reasonable costs and fees of enforcing this Judgment.

15

16
        Dated: May 31, 2024                ________________________________
17
                                           Hon. Sunshine S. Sykes
18                                         United States District Judge
      Presented by:
19

20
      Anoush Hakimi (SBN 228858)
      anoush@handslawgroup.com
21    Peter Shahriari (SBN 237074)
22    peter@handslawgroup.com
      Frederick Chernoff (SBN 342412)
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24    THE LAW OFFICE OF HAKIMI & SHAHRIARI
      15760 Ventura Blvd., Suite 650
25
      Encino, CA 91436
26    Telephone: (888) 635-2250
27
      Facsimile: (213) 402-2170

28    Attorneys for Plaintiff,
      GEORGE JONES


                                            JUDGMENT
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